Case: 5:22-cv-00231-DCR-MAS Doc #: 144-8 Filed: 03/12/24 Page: 1 of 1 - Page ID#:
                                    1671  EXHIBIT 8




PILLERSDORF LAW OFFICES
HERALD LAW OFFICE

EUGENE BAKER, et al.,
Plaintiff
vs.
DINSMORE AND SHOHL, LLP

BLACKHAWK MINING, LLC, and
PINE BRANCH MINING, LLC,
Defendants
______________________________________/

                               CERTIFICATE OF NON-APPEARANCE

      I, Sarah Clevenger, Court Reporter, do hereby certify that Ashley Pack
Esquire, James McClure Esquire, and Darrell Herald Esquire
                                                        re and I did appear
at Herald Law Office, on Wednesday, October 25, 2023, for the purpose of
taking the DEPOSITION of Harold Ray White, scheduled to begin at 1:00p ET,
and that upon waiting until 3:
                            3:20p, SAID DEPONENT FAILED TO APPEAR.

      Under penalties of perjury, I declare that I have read the foregoing
certificate and that the facts stated in it are true and correct.
                                                               t.

         DATED THIS 25th day of October, 2023

                                                 _____________________________
                                                 Sarah Clevenger, Notary Public, State of
                                                 Kentucky, Court Reporter
                                                 Expires: September 6, 2027




      730 West Main Street, Suite 101   Louisville, KY 40202   Tel: 502.589.2273   Fax: 502.584.0119

                                    www.kentuckianareporters.com
